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 5                               UNITED STATES DISTRICT COURT

 6                             CENTRAL DISTRICT OF CALIFORNIA

 7 1411 Division Street LLC,                 ) Case No.:
                                             )
 8                                           ) Complaint
                   Plaintiff,                )
 9                                           )
                                             )
10                v.                         )
                                             )
11                                           )
     First American Title Insurance Company, )
12                                           )
                   Defendant.                )
13                                           )
                                             )
14   _____________________________________
     TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
15
           Plaintiff, 1411 Division Street, LLC bring this action against First American Title Insurance
16

17 Company, and as grounds therefor, state:

18             1. Plaintiff, 1411 Division Street, LLC (“1411 Division Street”), is a Delaware limited
19                liability company. The members of 1411 Division Street, LLC all reside in New
20
                  York.
21
               2. Defendant, First American Title Insurance Company (“First American Title”) is a
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                  California company with its principal place of business in California.
23

24             3. Plaintiff demands a jury trial for all causes of action.

25                                    JURISDICTION AND VENUE

26             4. This Court has jurisdiction because it is between citizens of different states and the
27                amount in controversy exceeds $75,000 exclusive of interest and costs. 28 U.S.C. §
28
                  1332(a).
                                                    -1-
                                                 COMPLAINT
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 1      5. The Court has authority to declare the rights of the parties pursuant to 28

 2         U.S.C. § 2201(a).
 3
        6. Venue is proper in this division of this District because it is the place where First
 4
           American Title is located. 28 U.S.C.A. § 1391(b).
 5
                                Facts Common to All Counts
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        7. On or about May 2016 certain property, commonly known as 1411 Division Street,
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 8         Baltimore, Maryland (the “Subject Property”), was conveyed by Deed to Plaintiff.

 9         Exhibit A.
10      8. In conjunction with the purchase of the Subject Property Plaintiff purchased, and
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           Defendant issued, a title insurance policy which insured Plaintiff against various
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           defects in title (the “Title Policy”). The initial policy was for $866,400 and dated
13
           June 2, 2016. A copy of the title policy is attached hereto as Exhibit B.
14

15      9. The Title Policy affirmatively insured, among other things, against “Any defect in or

16         lien or encumberance on The Title.”

17      10. In or around April 2021, Plaintiff became aware that there was a recorded wireless
18         communications easement encumbering the Subject Property. The Title Policy
19
           insured the Subject Property without the burden of the wireless communications
20
           easement.
21
        11. Plaintiff informed the Defendant of the claim in or around April 2021. Defendnat
22

23         acknowledged liability. However, the parties dispute the amount Defendant is liable

24         to pay Plaintiff.

25                                   Count I – Breach of Title Policy
26
        12. Plaintiff repeats and realleges the allegations heretofore stated.
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        13. Paragraph 8 of Title Policy sets forth the extent of liability for Defendant under the
28
           Title Policy.
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                                          COMPLAINT
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 1      14. Plaintiff has suffered substantial losses as a result of, inter alia, the lack of

 2          marketability of title to the Subject Property, diminishment of value of the Subject
 3
            Property, and the inability to use the Subject Property as planned.
 4
        15. Defendant has failed and refused to properly compensate Plaintiff pursuant to
 5
            Paragraph 8 of the Title Policy.
 6
        16. As a direct and proximate result of Defendant’s breach of the Title Policy, Plaintiff
 7

 8          has suffered damages including, but not limited to, dimunition in value of the Subject

 9          Property.
10      17. Plaintiff has demanded the Defendant reimburse it for the amounts due under the
11
            Policy but the Defendant has refused to properly reimburse Plaintiff for the amounts
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            owed.
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        18. Plaintiff demands damages in an amount to be determined at trial but in excess of
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15          $866,400.

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                                           COMPLAINT
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 1                                    PRAYER FOR RELIEF

 2       Wherefore Plaintiff requests judgment be entered in their favor and against Defendant:
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                A. Awarding Plaintiffs damages in an amount to be proved, in any event exceeding
 4
                    $866,400 together with pre- and post-judgment interest thereon;
 5
                B. Awarding Plaintiffs their costs and reasonable attorneys’ fees for bringing this
 6
                    action, together with pre- and post-judgment interest thereon; and
 7

 8              C. Granting such other, further, and different relief as the Court determines is

 9                  appropriate.
10 DATED: September 2, 2021

11        New York, NY
                                                                 LAW OFFICES OF JASON LOWE
12

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                                             COMPLAINT
